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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                               NORTHWEST DIVISION

MARK SPLONSKOWSKI,                        )
                                          )
               Plaintiff,                 )
                                          )
v.                                        )           Case No. _____________
                                          )
ERIKA WHITE, in her capacity as State     )
Election Director of North Dakota,        )
                                          )
               Defendant.                 )
______________________________________________________________________________

                                 COMPLAINT
______________________________________________________________________________

       Plaintiff Mark Splonskowski brings this action for declaratory and permanent injunctive

relief against Defendant Erika White in her official capacity as the State Election Director of North

Dakota, alleging as follows:

   1. Federal law fixes Election Day on one specific day. 2 U.S.C. § 1; 2 U.S.C. § 7; and 3 U.S.C.

       § 1.

   2. Congress originally enacted a single statutory election day in order to address chaos and

       prolonged uncertainty surrounding elections in the 19th Century.

   3. In describing the purpose of the law, the Member of Congress who sponsored the

       legislation stated:

               The object of this amendment is to provide a uniform time of electing
               Representatives in Congress… But on account of the facility for
               colonization and repeating among the large central States, New York
               holding its election in November, and Ohio, Pennsylvania, and Indiana
               holding their elections in October, the privilege is allowed the border States,
               if any man is so disposed, of throwing voters across from one into the other.
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           I think it will be fair for everybody that on the day when one votes all should
           vote, and that the whole question should be decided then.

   CONG. GLOBE, 42d Cong., 2d Sess. 112 (1871).

4. Despite federal law assigning one day as Election Day, North Dakota law allows ballots to

   arrive and be counted up to 13 days after Election Day. N.D. CENT. CODE, §§ 16.1-11.1-

   07 and 16.1-15-17.

5. The “whole question” of who the new officeholder will be cannot be decided on Election

   Day because North Dakota continues accepting ballots after Election Day.

6. In fact, North Dakota law allows votes to be delivered by mail and cast for a longer period

   after Election Day than nearly every single other state.

7. North Dakota law and Defendant’s enforcement of it harm Mr. Splonskowski because they

   put him in the position of having to choose between dictates of state law to accept and

   allow votes to be cast after Election Day and federal law that requires a single election day.

8. Mr. Splonskowski is subject to criminal penalties if he chooses incorrectly.

9. Mr. Splonskowski seeks a judgment declaring North Dakota’s extension of Election Day

   to be unlawful and an injunction enjoining the laws allowing for the extension.

                                 Jurisdiction and Venue

10. This court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331

   and 2201, as the action arises under the laws of the United States, and because this matter

   is a proper subject for a declaratory judgment.

11. Venue in this Court is proper under 28 U.S.C. § 1391(b)(1), because the Defendant resides

   in this district, and under 28 U.S.C. § 1391(b)(2), because a substantial part of the events

   or omissions giving rise to the claim occurs in this district.
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                                          Parties

12. Defendant Erika White is the State Elections Director for North Dakota (“Director” or “the

   Director”) and is sued in the Director’s official capacity only. North Dakota employs the

   Director to administer elections and has delegated significant authority to her to manage

   and direct North Dakota’s elections. N.D. CENT. CODE § 16.1-01-01. The Director is

   responsible for implementing election best practices and training for the State of North

   Dakota, working closely with North Dakota’s 53 counties to ensure uniform election

   procedures and processes. In this capacity, the Director also conducts training for all county

   auditors every election year to train them on uniform implementation of state election

   policies, including how to properly accept ballots, and which ballots to accept. Id. § 16.1-

   01-01(2)(d).

13. Plaintiff Mark Splonskowski is the County Auditor of Burleigh County, North Dakota. In

   this capacity, he is the county administrator of elections and is responsible for the proper

   administration of state laws, rules, and regulations concerning election procedures within

   Burleigh County. N.D. CENT. CODE § 16.1-01-01(4). Before each primary and general

   election, he must conduct “training sessions on election laws and election procedures for

   election officials in the county,” including all election board members and poll clerks. Id.

   § 16.1-05-03(2). He also must designate a location for the closing, counting, and

   canvassing process, to be open to any person for the purpose of observing, and he sits on

   the county canvassing board, which reviews ballots that arrive after Election Day and

   certifies the county election results. See id. §§ 16.1-11.1-06 and 16.1-15-15.
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                                      Factual Allegations

Federal Law on Election Day

   14. The United States Congress is authorized under Art. I, § 4 cl. 1 and Art. II, § 1 cl. 4 to

      establish the time for conducting federal elections.

   15. The next Tuesday after the first Monday in November of every even-numbered year is

      Election Day for federal elections. See 2 U.S.C. § 1 (2022), 2 U.S.C. § 7 (2022), and 3

      U.S.C. § 1 (2021).

   16. Indeed, a recent revision to Title 3 dealing with the election process to elect the President

      reiterated that “‘election day’ means the Tuesday next after the first Monday in November,

      in every fourth year succeeding every election of a President and Vice President held in

      each State...” Electoral Count Reform Act, 136 Stat. 5233, 5235 (enacted as Div. P, Title

      I, § 102(b) of the Consolidated Appropriations Act, 2023, 117 Pub. L. No. 328, Dec. 29,

      2022).

   17. Federal law prescribes votes to be tabulated on Election Day, as every mention of the day

      is singular, and not plural.

North Dakota’s Election Process

   18. North Dakota allows any qualified voter to vote via absentee ballot, with no particularized

      justification. See N.D. CENT. CODE § 16.1-07-01.

   19. Absentee ballots must be delivered in-person before Election Day or mailed. If mailed,

      they must be postmarked the day before Election Day in order to be tallied and must be

      received prior to the meeting of the county’s canvassing board. See N.D. CENT. CODE §

      16.1-07-09.
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20. These county canvassing boards meet “[o]n the thirteenth day following each election.”

   See N.D. CENT. CODE § 16.1-15-17.

21. Read together, these two provisions mean that absentee ballots received up to 13 calendar

   days after the day of the election shall be counted as if cast and received on or before

   Election Day, provided they are accepted by the county canvassing board.

22. In addition to absentee voting by mail, North Dakota law permits a Board of County

   Commissioners to conduct elections by mail ballot. See N.D. CENT. CODE § 16.1-11.1-01.

23. Mail ballots must be returned to a designated place of receipt before Election Day, or

   mailed with a postmark of, at the latest, the day before the election. See N.D. CENT. CODE

   § 16.1-11.1-04.

24. Mail ballots must be received prior to the meeting of the county canvassing board. See

   N.D. CENT. CODE § 16.1-07-09.

25. The county canvassing board members must take an oath before opening and canvassing

   the returns. N.D. CENT. CODE § 16.1-15-17.

26. That oath requires the members to “solemnly swear” to “support the Constitution of the

   United States and the Constitution of the State of North Dakota.”

27. The County Canvassing Board canvasses the returns of all ballots that have arrived since

   Election Day at this meeting. N.D. CENT. CODE § 16.1-15-17.

28. There the board determines which mail and absentee ballots constitute legitimate votes.

   N.D. CENT. CODE §§ 16.1-15-01, -17, and -19.

29. After the ballots have been counted and the votes canvassed, each member of the

   canvassing board must sign an affidavit attesting to the veracity of the returns in the canvass

   report. N.D. CENT. CODE § 16.1-15-05.
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   30. North Dakota state election officials have already posted “Voter Important Dates” as

       November 4, 2024, being the submission deadline for absentee and mail ballots, and

       November 18, 2024, being the County Canvassing Board meeting. See Secretary of State,

       Voter            Important            Dates,            found            online            at

       https://vip.sos.nd.gov/PortalListDetails.aspx?ptlhPKID=104&ptlPKID=7.

Penalties Associated with Election Offenses

   31. It is unlawful for an individual to “[k]nowingly exclude a qualified elector from voting or

       knowingly allow an unqualified individual to vote.” N.D. CENT. CODE § 16.1-01-12(1)(f).

       This offense is a class A misdemeanor. Id. at § 16.1-01-12(2)(a).

   32. It is unlawful to “[w]illfully fail to perform any duty of an election officer after having

       accepted the responsibility of being an election officer by taking the oath as prescribed in

       this title.” N.D. CENT. CODE § 16.1-01-12(1)(k). This offense is a class A misdemeanor.

       Id. at § 16.1-01-12(2)(a).

   33. It is unlawful to “[w]illfully violate any rule adopted by the secretary of state pursuant to

       this title.” N.D. CENT. CODE § 16.1-01-12(l). This offense is a class A misdemeanor. Id. at

       § 16.1-01-12(2)(a).

   34. It is unlawful to “[w]illfully make any false canvass of votes, or make, sign, publish, or

       deliver any false return of an election, knowing the canvass or return to be false….” N.D.

       CENT. CODE § 16.1-01-12(m). This offense is a class C felony. Id. at § 16.1-01-12(2)(b).

Late Ballots Arriving After Election Day in the 2022 Election

   35. The 53 county canvassing boards of North Dakota received at least 294 ballots after

       Election Day and counted at least 212 of them in the November 2022 election.
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36. Burleigh County received at least 53 ballots after Election Day and counted 30 of them in

   the November 2022 election.

37. One ballot was received through the United States Postal Service but had no postmark on

   it and was counted in the election.

38. Because North Dakota’s system allows ballots to be received and cast 13 days after

   Election Day, North Dakota’s federal officeholders on the ballot in November 2022 had

   their elections certified by County Canvassing Boards of North Dakota on November 21,

   2022.

39. Other states determined the races for federal officeholders after Election Day too. In Utah,

   3 federal congressional races were not determined until November 22, 2022, after the

   election held on November 9, 2022. In Illinois, 6 federal congressional races were not

   determined until November 22, 2022.

40. Political cartoons have even taken to poking fun at the extended electoral process.




   Dana       Summers,        Tribune      Content       Agency,       found      online      at

   https://www.syracuse.com/opinion/2020/11/editorial-cartoons-for-nov-8-2020-waiting-

   for-a-winner-counting-votes-shaming-pollsters.html
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The Effect of the Conflicting Laws

   41. Mr. Splonskowski is harmed by instructions to accept and cast ballots received after

       Election Day.

   42. Mr. Splonskowski, as county auditor, must enforce state law in the administration of

       election procedures in Burleigh County. He must train election officials in the county on

       how to conduct elections in Burleigh County. Because federal and state law conflict on the

       day the ballots must be turned in, he faces an impossibility in enforcing the law.

   43. Mr. Splonskowski sits on the county canvassing board, which reviews and counts ballots

       that arrive after Election Day and certifies the election results. In this role, he must

       “solemnly swear” to “support the Constitution of the United States and the Constitution of

       the State of North Dakota.” However, since the federal and state law conflict, Mr.

       Splonskowski must choose which law to enforce when determining whether to certify

       ballots that arrive after Election Day, and if he chooses incorrectly, he can be subject to a

       Class C felony for certifying a false canvass of votes, or a Class A misdemeanor for failing

       to perform a duty as an election official, violating a rule set by the Secretary of State, or

       knowingly allowing an unqualified individual to vote.

   44. Mr. Splonskowski has no adequate remedy at law.


                                           COUNT I
                   Violation of 2 U.S.C. § 7, 2 U.S.C. § 1, and 3 U.S.C. § 21

   45. Plaintiff Mr. Splonskowski hereby incorporates the above listed allegations.

   46. 2 U.S.C. § 7 and 3 U.S.C. § 21 provide that federal elections occur on one day – “on the

       Tuesday next after the first Monday in November.”

   47. In 2024, this means that the federal election will occur on November 5, 2024.
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   48. Yet, Mr. Splonskowski will be trained by Defendant to accept and tabulate ballots that

       come in after Election Day.

   49. At the County Canvassing Board meeting November 18, 2024, Mr. Splonskowski will have

       to make the decision of choosing between conflicting state and federal law, risking

       violating his oath and incurring criminal penalties.

   50. Mr. Splonskowski has no other remedy in law and will suffer serious and irreparable harm

       to his constitutional rights unless Defendant is enjoined from implementing North Dakota’s

       laws related to accepting late ballots.


                                         Prayer for Relief

WHEREFORE, Plaintiff respectfully requests that the Court enter judgment as follows:

         A.    Declaring North Dakota’s statutes allowing ballots to be received and counted after

Election Day to violate federal law under 28 U.S.C. § 2201;

         B.    Enjoining Defendant from implementing and enforcing North Dakota’s laws

allowing for the receipt and tabulation of ballots after Election Day;

         C.    Enjoining Defendant from instructing and training North Dakota’s election officials

to count ballots received after Election Day;

         D.    Awarding Plaintiff reasonable attorneys’ fees, expenses, and costs; and

         E.    Awarding any other relief the Court deems just and proper.
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Dated: July 5, 2023


                                   Respectfully submitted,


                                   s/David J. Chapman
                                   ________________________
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